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                                                                                                                                                            amandel@dacbeachcroft.com

  January 22, 2025

  Via Electronic Mail

  Patrick L. Selvey, Jr. (pselvey@ngoodmanlaw.com)
  Nicholas Goodman & Associates, PLLC
  333 Park Avenue South, Suite 3A
  New York, NY 10010

  Re:      Interiano v. Arch Specialty Insurance Co.,
           U.S. District Court for the Eastern District of New York Case No. 23-cv-0238-PKC-AYS
  Our Ref: FOR195-2368386

  Dear Mr. Selvey:

           Thank you for speaking with me yesterday about your client's objection to our firm's continued
  representation of Arch Specialty Insurance Co. ("Arch") in the above-referenced matter (the "Lawsuit"). As
  you requested, I am writing to both provide our thoughts on the applicable case law,1 and to explain the
  processes the firm has implemented to protect any confidences Mr. Interiano previously might have shared
  with George Vogrin or others at his former firm (together, "Vogrin"). We hope that after review Mr. Interiano
  will agree that Arch is entitled to have those attorneys formerly at Robinson + Cole ("R+C"), who have joined
  DAC Beachcroft ("DACB"), continue to represent it in this Lawsuit.

          As discussed, in the Second Circuit, Rules 1.9 and 1.10 of the New York Rules of Professional
  Conduct do not govern whether DACB might be disqualified from representing Arch.2 See Hempstead
  Video, Inc. v. Inc. Vill. of Valley Stream, 409 F.3d 127, 132 (2d Cir. 2005). Rather, that issue is governed by
  the standards courts in this Circuit use as part of their inherent power to preserve the integrity of the
  adversary process. Id.

            Under that framework, disqualification is appropriate "only where continued representation 'poses
  a significant risk of trial taint.'" American Int'l Grp., Inc. v. Bank of Am. Corp., 827 F. Supp. 341, 346 (S.D.N.Y.
  2011) ("AIG"). That is, disqualification is appropriate "only where the conflict raises a significant risk that the
  attorney will be unable to represent his client with zeal and vigor or where the attorney possesses privileged
  information, obtained through prior representation of an adverse party, that might benefit his or her current
  client." Reilly v. Computer Assocs. Long-Term Disability Plan, 423 F. Supp. 2d 5, 9 (E.D.N.Y. 2006). Within
  the Second Circuit, the standard is merely a rebuttable presumption that, because an attorney may share
  confidences with others in his or her firm, "an attorney's successive representation risks disqualification of

       1
         The case law cited in this letter is intended to be representative, not exhaustive. Arch reserves the right to cite to additional case
  law and to develop additional legal arguments in opposition to any motion to disqualify that might be filed.
          2
              As I noted during our call, even if they did, we disagree those rules would prohibit DACB from doing so.




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  his firm as well." Hempstead, 409 F.3d at 133; see also Victorinox AG v. B&F Sys., 709 Fed. App'x 44, 53
  (2d Cir. 2017).

           Courts evaluating whether that presumption has been rebutted will "inquire on the facts of the case
  before them whether the practices and structures in place are sufficient to avoid disqualifying taint.'" Id. "One
  method of rebutting the presumption is by demonstrating a timely and effective ethical screen 'that fences
  the disqualified attorney from the other attorneys in the firm' in connection with the case for which the conflict
  is alleged." AIG, 827 F. Supp. 2d at 346.

         DACB has taken affirmative steps to protect any confidences that Mr. Interiano previously may have
  shared with Vogrin. These include:

                     None of Vogrin's physical documents or communications related to this Lawsuit were
                      transferred to DACB.

                     Any of Vogrin's electronic documents or communications related to this Lawsuit that were
                      transferred to DACB are not available to the attorneys and staff formerly associated with
                      R+C.3

                     Only attorneys and staff formerly associated with R+C have access to Arch's file related to
                      this Lawsuit.

                     An ethical wall is established prohibiting all attorneys and staff formerly associated with
                      R+C, on the one hand, and the attorneys and staff formerly associated with Vogrin, on the
                      other hand, to speak about any aspect of this Lawsuit.

  Given these actions, we are confident that Mr. Interiano cannot meet the "high standard of proof" necessary
  to have DACB disqualified from representing Arch. See id. at 345; see also Reilly, 423 F. Supp. 2d at 9.

           Additionally, as I noted during our call, the resolution of this Lawsuit generally will not depend upon
  any confidences that Mr. Interiano might have shared with Vogrin. Specifically, Mr. Interiano's claims in this
  lawsuit generally will be resolved only based upon the application of New York law to actions taken by Arch.
  This Lawsuit's resolution therefore is by and large agnostic to Mr. Interiano, let alone any confidences he
  previously might have shared with Vogrin.




       3
         To the extent that any electronic documents and communications related to Vogrin's work on this Lawsuit have been migrated
  onto DACB's systems, those documents and communications are being marked "personal" to each attorney and/or staff member
  formerly affiliated with Vogrin and are accessible only to those individuals. The attorneys and staff formerly associated with R+C do
  not have access to – and cannot access – those electronic documents and communications.




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          Based upon our conversation yesterday and the foregoing, we hope Mr. Interiano will agree to
  withdraw his challenge to DACB representing Arch in this Lawsuit. Of course, we are happy to further
  discuss this matter with you if you have any questions or need any additional information.

                                               Very truly yours,
                                               Aaron F. Mandel
                                               Aaron F. Mandel

  cc:    H. Nicholas Goodman (via email: ngoodman@ngoodmanlaw.com)
         Lawrence Klein (via email: lklein@dacbeachcroft.com)




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